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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION
UNITED STATES OF AMERICA

         VS                                                CASE NO. 3:99cr30-01/RV

RAMUL CELESTIN

                               REFERRAL AND ORDER

Referred to Senior Judge Roger Vinson on November 28, 2006
Motion/Pleadings: MOTION for the issuance of a Writ of Mandamus pursuant to Title 28
U.S.C. Section 1361
Filed by Defendant                       on 11/02/2006       Doc.#     297
RESPONSES:
  Government                             on 12/1/06          Doc.# 300
                                         on                  Doc.#
        Stipulated           Joint Pldg.
        Unopposed            Consented
                                         WILLIAM M. McCOOL, CLERK OF COURT

                                           s/Jerry Marbut
                                         Deputy Clerk: Jerry Marbut

                                       ORDER
Upon    consideration   of   the   foregoing,   it   is   ORDERED     this   7th   day   of
      December          , 2006, that:
(a) The relief requested is DENIED, for the reasons set out in the Government’s
response.
(b)




                                          /s/ Roger Vinson
                                                         ROGER VINSON
                                             Senior United States District Judge
